          Case: 4:20-mj-00187-DDN Doc. #: 1 Filed: 08/11/20 Page: 1 of 1 PageID #: 1




 /\O 9l   (Rc!   ll/ll)    Crimi.al Conrplainl


                                             UNrrpo Srarns Dlsrrucr Counr
                                                                                    for the
                                                            EASTERN DISTRICT OF MISSOT]RI

                          United States of America                                         )
                                                                                           )
                    JAMES TIMOTHY NOfuVAN                                                  )    Case   No.   4;20 iVJ 137 DDN
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                                  Delandaitls)


                                                               CRIMINAL COMPLAINT
            l. the complainant in this case. stale thal the follorving is lrue to the best of my knowledge and belief.
On or about the dale(s)             of                .,.   &-*M.          20t6                in the county   ol          City ofSt. Louis         ir   the

          Eastem                        --
                               District of                  Missouri               . the   defendanl(s) violated:

                 Cocle Section                                                                     Ollense DesTiption

 t3 u.s.c. 1953                                                        -
                                                              CT. I Conspiracy to Usc Interstate Commerce Facilities in Commission             of
                                                              Murder-[or-Hirc. resultiug in death




            This criminal complaint is based on these facts:
                                                                  SEE AT'I        AC}IED AfFIDAVIT




            O    Continued on the atlached sheet.




                                                                                                          Clristopher Faber, Special Agent. FBI
                                                                                                                    Pr lc.1nantc   and title

Swom. to. anested to. and affirmed beforc rre via reliallle electronic means pursuant to Federal Rules ol'Criminal Procedurc 4.1 and                           4l

                                                                                                               /s/ David D. Noce
Date:                o8t1112020
                                                                                                                      J ige's sigitdtue

Cii),and state                                   St. I-ouis, Missouri                           I'lonorable David D. Noce, U.S. Magistratc Judgc
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